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               EXHIBIT 4
                              Case 6:20-cv-00585-ADA     Document
                                                  Cell Phones           161-1
                                                              - Shop AT&T's         Filed
                                                                            Selection of Cell06/05/23     Page 2 of 5
                                                                                              Phones & Smartphones
The Wayback Machine - http://web.archive.org/web/20180329023618/https://www.att.com/shop/wireless/devices/cellphones.html




    Want a year of DIRECTV NOWSM on us? Of course!(http://web.archive.org/web/20180329023618/https://www.att.com/)
                                                    (http://web.archive.org/web/20180329023618mp_/https://www.att.com/shop/wireless/devices/.html) See offer
                                                                                                                                                  details


    Home       Shop      Wireless      Devices      Cell Phones                                                                                                              My Wireless Cart
                                                                                                                                            (http://web.archive.org/web/20180329023618mp_/https://m.


    Cell Phones & Mobile Devices
    Ready to upgrade or start a new line of service? Shop our most popular cell phones and devices, then choose to buy online with free express shipping,
    use in-store pick up, or get same day delivery in select markets, with free returns.

        Cell Phones

        Tablets


        AT&T; PREPAID℠


        Bring Your Own Device


        Wearables, Smart Devices


        Certified Pre-Owned Phones
                                                         Showing                1 - 12 of 32 devices        Sort by                                               View as:
                                                                                                                        Featured
                                                         Show all
        SIM Cards


        Wireless Home Services                           Samsung Galaxy S9                                  Samsung Galaxy S9+                            Apple iPhone X
                                                                             (41)                                               (98)                                          (765)


        Clear filters


          Contract Type
                                                                                $26.34/mo.                                         $30.50/mo.                                    $33.34/mo.
          Brand                                                                                                                                                                  to
                                                                                                                                                                                 $38.34/mo.
          Pricing
                                                                                                                                                                                 64 to 256 GB


          Operating system

          Store availability                             Available colors:                                  Available colors:                             Available colors:



          Feature

                                                          Requires 0% APR 30-mo. installment agmt.,          Requires 0% APR 30-mo. installment agmt.,     Requires 0% APR 30-mo. installment agmt.,
          Style                                                   qual. credit, and services.                        qual. credit, and services.                   qual. credit, and services.
                                                                     See price details                                  See price details                             See price details

          Condition
                                                              Add to Compare                                     Add to Compare                                Add to Compare
                                                                                             View                                             View                                          View




                                                         Apple iPhone 8                                     Apple iPhone 8 Plus                           Apple iPhone 7
                                                                             (353)                                              (670)                                         (3917)




web.archive.org/web/20180329023618mp_/https://www.att.com/shop/wireless/devices/cellphones.html                                                                                                        1/4
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                                                                                     Phones & Smartphones



                                                               $23.34/mo.                                    $26.67/mo.                                    $18.34/mo.
                                                               to                                            to                                            to
                                                               $28.34/mo.                                    $31.67/mo.                                    $21.67/mo.
                                         Requires 0% APR 30-mo.64 toinstallment
                                                                      256 GB agmt.,    Requires 0% APR 30-mo.64 toinstallment
                                                                                                                    256 GB agmt.,    Requires 0% APR 30-mo.32 toinstallment
                                                                                                                                                                  128 GB agmt.,
                                                 qual. credit, and services.                   qual. credit, and services.                   qual. credit, and services.
                                                    See price details                             See price details                             See price details



                                             Add to Compare                                Add to Compare                                Add to Compare
                                        Available colors:                  View       Available colors:                  View       Available colors:                  View




                                        Apple iPhone 7 Plus                           Samsung Galaxy Note8                          LG V30
                                                            (6879)                                        (471)                                         (693)




                                                               $22.34/mo.                                    $31.67/mo.                                    $26.67/mo.
                                                               to
                                                               $25.67/mo.
                                                               32 to 128 GB




                                        Available colors:                             Available colors:                             Available colors:




                                         Requires 0% APR 30-mo. installment agmt.,     Requires 0% APR 30-mo. installment agmt.,     Requires 0% APR 30-mo. installment agmt.,
                                                 qual. credit, and services.                   qual. credit, and services.                   qual. credit, and services.
                                                    See price details                             See price details                             See price details



                                             Add to Compare                                Add to Compare                                Add to Compare
                                                                           View                                          View                                          View




                                        Samsung Galaxy S8                             Samsung Galaxy S8                             Samsung Galaxy S8+
                                        Active                                                            (758)                                         (2167)
                                                            (214)




                                                               $28.34/mo.                                    $21.84/mo.                                    $25.17/mo.




                                        Available colors:                             Available colors:                             Available colors:




                                         Requires 0% APR 30-mo. installment agmt.,     Requires 0% APR 30-mo. installment agmt.,     Requires 0% APR 30-mo. installment agmt.,
                                                 qual. credit, and services.                   qual. credit, and services.                   qual. credit, and services.
                                                    See price details                             See price details                             See price details



                                             Add to Compare                                Add to Compare                                Add to Compare
                                                                           View                                          View                                          View




                                        1 - 12 of 32 devices              SHOW 12 MORE DEVICES                      SHOW ALL DEVICES



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                                                                   Selection of Cell06/05/23     Page 4 of 5
                                                                                     Phones & Smartphones


                                        AT&T NEXT OR AT&T NEXT EVERY YEAR: Credit approval required. For smartphones only. Tax on sales price due at
                                        sale. Requires 0% APR monthly installment agreement and eligible service. Divides sales price into monthly installments. AT&T
                                        Next: 30-month agreement with trade-in to upgrade when 80% of sales price is paid off. AT&T Next Every Year: 24-month
                                        agreement with trade-in to upgrade when 50% of sales price is paid off. $0 down: Requires well-qualified credit. Limit as low
                                        as 2 smartphones at $0 down. Down payment: May be required and depends on a variety of factors. Down payment if required
                                        will be either 30% of sales price or a dollar amount ranging from currently $0 to $600 (amount subject to change, and may be
                                        higher). You may choose to pay more upfront. Remainder of sales price is divided into 30 or 24 monthly
                                        installments. Service: Eligible postpaid voice and data service (minimum $45 per month after AutoPay and Paperless billing
                                        discount for new customers. Pay $55 per month until discount starts within 2 bills. Existing customers can add to eligible current
                                        plans which may be less) is required and extra. If service is cancelled, remaining installment agreement balance is due.
                                        Examples: $749.99 sales price on AT&T Next (30-month) with $0 down is $25 per month, with $225 down (30%) is $17.50 per
                                        month, or with $600 down is $5 per month. On AT&T Next Every Year (24-month) with $0 down is $31.25 per month, with $225
                                        down (30%) is $21.88 per month, or with $600 down is $6.25 per month. Activation or upgrade fee: Up to $45/line. No upgrade
                                        fee for line with a smartphone purchased on an installment agreement prior to August 1, 2015. Waiver of fee subject to change.
                                        Restocking Fee: Up to $45. Limits: Purchase limit applies. Eligibility, device, line and financing limits & other restr’s
                                        apply. Upgrade with eligible trade-in: Requires payment of percentage of sales price (50% or 80%), account in good standing,
                                        trade-in of financed device (or one of the same make and model) in good physical and fully functional condition through the AT&T
                                        Next or AT&T Next Every Year trade-in program (excludes AT&T trade-in program where you receive an instant credit or AT&T
                                        promotion card), and purchase of new eligible smartphone with qualified wireless service. After upgrade, unbilled installments are
                                        waived. See att.com/next (http://web.archive.org/web/20180329023618/http://att.com/next) and your Retail Installment Agreement
                                        for full details.
                                        GENERAL WIRELESS SERVICE: Subject to wireless customer agreement (att.com/wca
                                        (http://web.archive.org/web/20180329023618/http://att.com/wca) ). Services are not for resale. Deposit: May be required. Limits:
                                        Purchase and line limits apply. Prices vary by location. Credit approval, fees, monthly and other charges, usage, eligibility and
                                        other restrictions per line may apply. See att.com/additionalcharges
                                        (http://web.archive.org/web/20180329023618/http://att.com/additionalcharges) for more details on other charges. Pricing and terms
                                        are subject to change and may be modified or terminated at any time without notice. Coverage and service are not
                                        available everywhere. You get an off-net (roaming) usage allowance for each service. If you exceed the allowance, your services
                                        may be restricted or terminated. Other restrictions apply and may result in service termination. For info on AT&T network
                                        management policies see att.com/broadbandinfo (http://web.archive.org/web/20180329023618/http://att.com/broadbandinfo) .
                                        Wireless Home Phone device is not a cellphone, it's a base unit to which standard landline phone equipment is connected. Voice
                                        services only. 2-year contract required.
                                        AT&T Video Call: Not available in all areas. Usage and Charges: Each Video Call uses both voice and data (unless on Wi-Fi).
                                        The voice portion counts towards voice minutes and video portion counts as data usage under your existing wireless rate plan.
                                        Requirements: All parties to a Video Call must be AT&T postpaid wireless customers with Video Call-capable devices and
                                        located within AT&T HD Voice coverage. Device selection is limited at this time. Unless disabled, Video Call capability is
                                        displayed to other AT&T Video Call-capable customers. Wi-Fi: Once started or received on the mobile network, Video Calls
                                        automatically switch to Wi-Fi if your device accesses an available Wi-Fi Internet connection. An AT&T wireless network
                                        connection is still required even while on Wi-Fi. Voice and data charges do not apply to Video Call over Wi-Fi. If you move in or
                                        out of Wi-Fi coverage while using Video Call, your call will disconnect unless you have AT&T HD Voice coverage. Incompatible
                                        Services and Features: AT&T Video Call requires an account that is set up for HD Voice. HD Voice is incompatible with AT&T
                                        Smart Limits, Office Direct and OfficeReach. Visit att.com/hdvoice
                                        (http://web.archive.org/web/20180329023618/https://www.att.com/shop/wireless/features/hd-voice.html) for more information. For
                                        more details on AT&T Video Call, see the AT&T Video Call FAQ
                                        (http://web.archive.org/web/20180329023618/https://www.att.com/shop/wireless/features/video-calling.html) .

                                        FREE Express Shipping: Postpaid orders will be processed and shipped subject to credit approval, inventory availability, and
                                        validation of a proper shipping address and other information. Orders received after 4 p.m. CT will be processed the next
                                        business day. Inventory, credit, or other issues may delay shipment. No holiday, Saturday, or Sunday delivery. Shipping policy is
                                        subject to change. Please note: It may take up to 24 hours to process your order if there are any issues with the credit approval
                                        process and/or the shipping address validation process. This 24-hours period is not included in the delivery time and should be
                                        taken into account in your order placement timing. Delivery signatures may be required. Priority Shipments to Puerto Rico and the
                                        U.S. Virgin Islands may take more than 2 business days. Actual delivery date may also be affected by government processing.
                                        Samsung Gear S2 Classic Bundle: While supplies last. Online only. Smartphone: Must buy new Samsung Galaxy smartphone
                                        (excludes Certified Like-New/Pre-Owned) on AT&T Next or AT&T Next Every Year installment agreement with eligible postpaid
                                        monthly service (voice and data). If service is canceled, remaining installment agreement balance (up to $915) is due. Down
                                        payment may be required. Tax due at sale. See att.com/next for details. Watch: Requires a new 2-year wireless service
                                        agreement with qualified postpaid data service (add to select existing plans for $10/month, or minimum $40/month on a new
                                        eligible plan). Requires Samsung account, pairing with compatible smartphone (sold separately) with 1.4GB RAM and Android
                                        4.4+ and Samsung Gear app. For compatible smartphones, please visit: www.samsung.com/gearS2. Early Termination Fee
                                        (att.com/equipmentETF): After 14 days, up to $150 on watch. Bundle: Items must be purchased together. Online Restrictions: If
                                        upgrading to a new smartphone on att.com, bundle pricing not available. Please visit store. Device Limits/Exclusions: Purchase
                                        limits apply. Return/Restocking Fee: If return smartphone within 14 days without watch, will owe $349.99 discount. If return within
                                        14 days, up to $45 restocking fee also may apply.
                                        GENERAL WIRELESS SVC: Subject to Wireless Customer Agreement (att.com/wca
                                        (http://web.archive.org/web/20180329023618/https://www.att.com/wca) ). Services not for resale. Deposit: may be required per line.
                                        Activation/Upgrade Fee: Up to $45/line. Early Termination Fee (att.com/equipmentETF
                                        (http://web.archive.org/web/20180329023618/http://www.wireless.att.com/learn/articles-resources/early-term-fees.jsp) ): For pricing
                                        with 2-year agreement requirement, after 14 days, up to $150. Return/Restocking: Must return within 14 days. Restocking fee
                                        up to $45 each; 10% of purchase price for accessories $200 and over. Limits: Purchase limits apply & prices vary by location.
                                        Prices, discounts, and offers, may not be stackable. Credit approval, other fees & charges per line apply. Other Monthly
                                        Charges/Line: May include taxes, fed. & state universal svc charges, Reg. Cost Recovery Charge (up to $1.25), gross receipts
                                        surcharge, Admin. Fee, & other gov't assessments which are not gov't req'd charges. See att.com/additionalcharges
                                        (http://web.archive.org/web/20180329023618/https://www.att.com/additionalcharges) for details. Pricing & terms subject to change
                                        & may be modified or terminated at any time without notice. Coverage and service not available everywhere. You get an off-
                                        net (roaming) usage allowance for each service. If you exceed the allowance, your services may be restricted or terminated.
                                        Usage, and other restrictions apply & may result in service termination. AT&T service is subject to AT&T network management
                                        policies (See att.com/broadbandinfo (http://web.archive.org/web/20180329023618/https://www.att.com/broadbandinfo) for details).


                                        For full service terms & conditions visit att com/wirelessterms
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                                                        For full service terms & conditions, visit att.com/wirelessterms
                                                        (http://web.archive.org/web/20180329023618/https://www.att.com/wirelessterms) .

                                                        *Ends 3/30/18. Select cases and screen protectors for the Samsung Galaxy S9 and S9+ only. Must purchase eligible device in
                                                        same transaction as eligible case or screen protectors. No other discounts apply. Offers may not be combinable with all
                                                        offers/discounts/credits. Limit 1 discounted case/screen protector per device purchased. Limit 4 per customer. Subject to change.
                                                        Restrictions apply.




    Wireless Legal Site (http://web.archive.org/web/20180329023618/http://www.att.com/wirelesslegal) | Wireless Customer Agreement | Cell Phone Records Security
   (http://web.archive.org/web/20180329023618/http://www.att.com/gen/public-affairs?pid=13030) | Other Monthly Charges | Plan Terms | Online Pricing |
   Returns Policy & Early Termination Fee | Additional Messaging & Data Charges (http://web.archive.org/web/20180329023618/http://www.wireless.att.com/learn/articles-
   resources/wireless-legal-charges.jsp) | Shipping Information




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                                                                                                          (http://web.archive.org/web/20180329023618/https://www.att.com/contactus/)


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                                                                                                          (http://web.archive.org/web/20180329023618/https://secure.opinionlab.com/ccc01/o.asp?
                                                                                                          id=fXJtjaWr)
           Business customers
     (http://web.archive.org/web/20180329023618/https://www.att.com/gen/general?pid=11627)
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                                                         Community forums (http://web.archive.org/web/20180329023618/https://forums.att.com/)



                                 Legal policy center                                        Privacy policy                                                    Terms of use
  (http://web.archive.org/web/20180329023618/https://m.att.com/shopmobile/legal/legal-
                                                                   (http://web.archive.org/web/20180329023618/https://www.att.com/gen-
                                                                                                                                    (http://web.archive.org/web/20180329023618/https://www.att.com/gen-
                                  policy-center.html)                               mobile/privacy-policy?pid=2506)                                     mobile/general?pid=11561)


                             Broadband details                                                Advertising choices                                                        Accessibility
  (http://web.archive.org/web/20180329023618/https://www.att.com/gen/public-                                                         (http://web.archive.org/web/20180329023618/https://m.att.com/shopmob
                                                                   (http://web.archive.org/web/20180329023618/http://www.att.com/internal/adchoices)
                              affairs?pid=20879)                                                                                                                       accessibility.html)


                                 Site map
  (http://web.archive.org/web/20180329023618/https://www.att.com/sitemap/)



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